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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
 ELG, a minor by Parent and
 Next Friend LATOREYA TILL,

 Plaintiff,

        vs.
                                                    Civil No. 24-cv-12195
  JUDGE KENNETH KING,
                                                  ANSWER TO COMPLAINT
 individually; UNIVERSAL
 PROTECTION SERVICES d/b/a
                                                  Honorable David M. Lawson
 ALLIED UNIVERSAL SECURITY
 SERVICES and/or ALLIED
 UNIVERSAL SECURITY SERVICES,
 LLC; KEITH TAYLOR, individually;
 and CATHY R. GREER-FORTE
 individually,

 Defendants.

                    ANSWER TO AMENDED COMPLAINT

      Defendant Hon. Kenneth King, by and through his attorneys, THE PERKINS

LAW GROUP, PLLC, and TODD RUSSELL PERKINS hereby submits his Answer

to Plaintiff’s Complaint, and state as follows:

                                 JURISDICTION

   1. Deny.

   2. Admit.

   3. Admit.

   4. Admit.
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   5. Deny.

   6. Paragraph 6 states a legal conclusion, and neither requires an admittance or

      denial.

                               PARTIES AND VENUE

   7. Deny.

   8. Paragraph 8 neither requires an admittance or denial.

   9. Admit.

   10.Defendant lacks knowledge of the allegations contained in paragraph 10, and

      therefore denies.

   11.Defendant lacks knowledge of the allegations contained in paragraph 11, and

      therefore denies.

   12.Defendant lacks knowledge of the allegations contained in paragraph 12, and

      therefore denies.

   13.Deny.

   14.Admit.

   15.Admit

                             FACTUAL ALLEGATIONS

   16.Admit.

   17.Admit.




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   18.Defendant lacks knowledge of the allegations contained in paragraph 18, and

      therefore denies.

   19.Admit.

   20.Admit.

   21.Deny as to the classification as Defendant King as a lecturer.

   22.Defendant lacks knowledge of the allegations contained in paragraph 22, and

      therefore denies.

   23.. Defendant lacks knowledge of the allegations contained in paragraph 23, and

      therefore denies.

   24.Defendant lacks knowledge of the allegations contained in paragraph 24, and

      therefore denies.

   25.Defendant lacks knowledge of the allegations contained in paragraph 25, and

      therefore denies.

   26.Admit.

   27.Deny.

   28.Deny.

   29.Deny as to the classification of “leaving the bench”.

   30.Deny.

   31.Deny.




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   32.Defendant lacks knowledge of the allegations contained in paragraph 32, and

      therefore denies.

   33.Defendant lacks knowledge of the allegations contained in paragraph 33, and

      therefore denies.

   34.Defendant lacks knowledge of the allegations contained in paragraph 34, and

      therefore denies.

   35.Admit.

   36.Deny.

   37.Deny.

   38.Deny.

   39.Deny.

   40.Deny.

   41.Defendant lacks knowledge of the allegations contained in paragraph 41, and

      therefore denies.

   42.Defendant lacks knowledge of the allegations contained in paragraph 42, and

      therefore denies.

   43.Deny.

   44.Deny.

   45.Deny.

   46.Deny.

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   47.Deny.

   48.Deny.

   49.Deny.

   50.Deny.

   51.Deny.

   52.Deny.

   53.Deny.

   54.Deny.

   55.Deny.

                                 DUE PROCESS

   56.Paragraph 55 neither requires an admittance or denial.

   57.Paragraph 56 states a legal conclusion and leaves Plaintiff to her proofs.

   58.Paragraph 57 states a legal conclusion and leaves Plaintiff to her proofs.

   59.Paragraph 58 states a legal conclusion and leaves Plaintiff to her proofs.

   60.Paragraph 59 states a legal conclusion and leaves Plaintiff to her proofs.

   61.Paragraph 60 states a legal conclusion and leaves Plaintiff to her proofs.

   62.Paragraph 61 states a legal conclusion and leaves Plaintiff to her proofs.

   63.Deny.

   64.Deny.

   65.Deny.

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   66.Paragraph 66 states a legal conclusion and leaves Plaintiff to her proofs.

   67.Deny.

   68.Deny.

   69.Paragraph 69 states a legal conclusion and leaves Plaintiff to her proofs.

   70.Deny.

   71.Deny.

   72.Paragraph 72 states a legal conclusion and leaves Plaintiff to her proofs.

   73.Deny.

   74.Deny.

   75.Deny.

   76.Deny.

   77.Deny.

   78.Deny.

   79.Paragraph 79 states a legal conclusion and leaves Plaintiff to her proofs.

   80.Deny.

   81.Deny.

   82.Deny.

   83.Deny.

   84.Deny.

   85.Deny.

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   86.Deny.

   87.Deny.

   88.Deny.

   89.Deny.

   90.Deny.

   91.Deny.

   92.Deny.

   93.Deny.

                             LACK OF IMMUNITY

   94.Paragraph 94 neither requires an admittance or denial.

   95.Paragraph 95 neither requires an admittance or denial.

   96.Paragraph 96 states a legal conclusion and leaves Plaintiff to her proofs.

   97.Paragraph 97 states a legal conclusion and leaves Plaintiff to her proofs.

   98.Paragraph 98 states a legal conclusion and leaves Plaintiff to her proofs.

   99.Paragraph 99 states a legal conclusion and leaves Plaintiff to her proofs.

   100.       Paragraph 100 states a legal conclusion and leaves Plaintiff to her

      proofs.

 101. Paragraph 101 states a legal conclusion and leaves Plaintiff to her proofs.

 102. Paragraph 102 states a legal conclusion and leaves Plaintiff to her proofs.

 103. Admit.

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 104. Paragraph 104 neither requires an admittance or denial.

 105. Paragraph 105 neither requires an admittance or denial.

 106. Deny.

 107. Paragraph 107 states a legal conclusion and leaves Plaintiff to her proofs.

 108. Deny.

 109. Deny.

 110. Deny.

 111. Deny.

 112. Deny.

 113. Deny.

 114. Deny.

 115. Deny.

 116. Deny.

 117. Deny.

 118. Deny.

    COUNT I – DEFENDANT JUDGE KENNETH KING – MALICIOUS
     PROSECUTION IN VIOLATION OF THE 4TH AMENDMENT

 119. Paragraph 119 neither requires an admittance or denial.

 120. Deny.

 121. Paragraph 121 states a legal conclusion and leaves Plaintiff to her proofs.

 122. Paragraph 122 states a legal conclusion and leaves Plaintiff to her proofs.
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 123. Deny.

 124. Deny.

 125. Deny.

 126. Deny.

 127. Deny.

 128. Deny.

  COUNT II -- DEFENDANT JUDGE KENNETH KING – UNLAWFUL
    ARREST AND INCARCERATION IN VIOLATION OF THE 4TH
                                AMENDMENT
 129. Paragraph 129 neither requires an admittance or denial.

 130. Paragraph 130 states a legal conclusion and leaves Plaintiff to her proofs.

 131. Paragraph 131 states a legal conclusion and leaves Plaintiff to her proofs.

 132. Paragraph 132 states a legal conclusion and leaves Plaintiff to her proofs.

 133. Paragraph 133 states a legal conclusion and leaves Plaintiff to her proofs.

 134. Deny.

 135. Deny.

 136. Deny.

 137. Deny.

 138. Deny.

 139. Deny.

 140. Deny.

 141. Deny.
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  142. Deny.

  143. Deny.

  COUNT III -- DEFENDANT JUDGE KENNETH KING – INTENTIONAL
                 INFLICTION OF EMOTIONAL DISTRESS
  144. Paragraph 144 neither requires an admittance or denial.

  145. Deny.

  146. Deny.

  147. Deny.

  148. Deny.

  149. Deny.

               COUNT IV-DEFENDANT JUDGE KENNETH KING
                         – INVASION OF PRIVACY

  150. Paragraph 150 neither requires an admittance or denial.

  151. Deny.

  152. Deny.

  153. Deny.

  154. Deny.

  155. Deny.

  156. Deny.

  157. Deny.

  158. Deny.

  159. Deny.
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  160. Deny.

  161. Deny.

  162. Deny.

  COUNT V – DEFENDANT JUDGE KENNETH KING – FALSE ARREST
                    AND IMPRISONMENT

  163. Paragraph 163 neither requires an admittance or denial.

  164. Deny.

  165. Deny.

  166. Deny.

  167. Deny.

  168. Deny.

                 COUNT VI – DEFENDANTS JOHN DOE &
  JANE ROE COURT OFFICERS – FOURTH AMENDMENT UNLAWFUL
                           SEIZURE & DETENTION
  169. Paragraph 169 neither requires an admittance or denial.

  170. Paragraph 170 states a legal conclusion and leaves Plaintiff to her proofs.

  171. Paragraph 171 states a legal conclusion and leaves Plaintiff to her proofs.

  172. Paragraph 172 states a legal conclusion and leaves Plaintiff to her proofs.

  173. Paragraph 173 states a legal conclusion and leaves Plaintiff to her proofs.

  174. Deny.

  175. Deny.

  176. Deny.


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  177. Deny.

  178. Deny.

  179. Deny.

  180. Defendant lacks knowledge of the allegations contained in paragraph 180,

      and therefore denies

  181. Defendant lacks knowledge of the allegations contained in paragraph 181, and

      therefore denies

  182. Deny.

  183. Deny.

  184. Deny.

  185. Deny.

  186. Deny.

  187. Deny.

            COUNT VII – DEFENDANTS JOHN DOE &
  JANE ROE COURT OFFICERS – FALSE ARREST & IMPRISONMENT

  188. Paragraph 188 neither requires an admittance or denial.

  189. Deny.

  190. Deny.

  191. Deny.

  192. Deny.

  193. Deny.
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  194. Deny.

   COUNT VIII -- DEFENDANT UNIVERSAL – VICARIOUS LIABILITY
                          FOR STATE LAW TORTS
  195. Paragraph 195 neither requires an admittance or denial.

  196. Deny.

  197. Deny.

                               REQUESTED RELIEF

      Defendant humbly request this court find no cause of action and dismiss

Plaintiff’s Complaint in its entirety.


   Dated: January 27, 2025
                                         /s/Todd R. Perkins
                                         TODD RUSSELL PERKINS (P55623)
                                         THE PERKINS LAW GROUP, PLLC
                                         Attorney for Defendant
                                         615 Griswold, Suite 400
                                         Detroit, Michigan 48226
                                         (313) 964-1702
                                         tperkins@perkinslawgroup.net




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             AFFIRMATIVE DEFENSES AND OTHER DEFENSES

         Defendant Kenneth King states as follows for his affirmative defenses to

Plaintiff’s First Amended Complaint:

1. Plaintiff’s Complaint fails to state a claim against Defendant upon which relief

can be granted.

2. Plaintiff’s claims are barred by the doctrine of absolute judicial immunity.

3. To the extent it alleges a violation arising under the Constitution of the United

States for alleged violations of the Fourth Amendment, Plaintiff’s Complaint fails to

state a claim against Defendant upon which relief may be granted and there is no

genuine issue of material fact.

4. That the sole proximate cause, or at least a contributing cause, of the damages

and/or injuries complained of by Plaintiff were of her own wrongful conduct,

negligence, or comparative fault.

5. Plaintiff’s claims fail as a matter of law because Plaintiff did not suffer any

constitutional deprivation.

6. In all respects, Defendant’s actions were in good faith, reasonable, proper, and

legal.

7. Any injury suffered by Plaintiff was proximately caused by her own wrongful

conduct.




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8. That the sole proximate cause, or at least a contributing cause, of the damages

and/or injuries complained of by Plaintiff was the actions of third parties.

      Defendant reserves the right to assert additional affirmative defenses as they

are revealed in the course of this proceeding.


   Dated: January 27, 2025
                                       /s/Todd R. Perkins
                                       TODD RUSSELL PERKINS (P55623)
                                       THE PERKINS LAW GROUP, PLLC
                                       Attorney for Defendant
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                       CERTIFICATE OF SERVICE

I, Todd Perkins, hereby certify that on January 27, 2025, I filed the foregoing
Answer, Affirmative Defenses and Reliance on a Jury Demand, to Clerk of Court
and all parties of record via the electronic filing system.

            Respectfully Submitted,

                        PERKINS LAW GROUP, PLLC

                        /s/: Todd Perkins
                        TODD RUSSELL PERKINS
                        Attorney for Defendant
                        615 Griswold Street, Suite 400
                        Detroit, Michigan 48226
                        (313) 964-1702




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